Case 3:23-cv-00073-SMR-WPK   Document 31-4   Filed 12/29/23   Page 1 of 6
                             EXHIBIT D




                                                DATE FILED: November 2, 2021
                                                CASE NUMBER: 2014CR437
Case 3:23-cv-00073-SMR-WPK   Document 31-4   Filed 12/29/23   Page 2 of 6
                             EXHIBIT D
Case 3:23-cv-00073-SMR-WPK   Document 31-4   Filed 12/29/23   Page 3 of 6
                             EXHIBIT D
Case 3:23-cv-00073-SMR-WPK   Document 31-4   Filed 12/29/23   Page 4 of 6
                             EXHIBIT D
Case 3:23-cv-00073-SMR-WPK   Document 31-4   Filed 12/29/23   Page 5 of 6
                             EXHIBIT D
Case 3:23-cv-00073-SMR-WPK   Document 31-4   Filed 12/29/23   Page 6 of 6
                             EXHIBIT D
